



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				South Carolina
      Department of Social Services, Respondent,
			
		
	

v.

	
		
			
				Adrienne M.,
      William D., Stephanie M., and Ernest M., Defendants,
				of whom
      Adrienne M. is the Appellant.
				In the
  interest of minor child under age 18. 
			
		
	


Appeal From Greenville County
&nbsp;R. Kinard Johnson, Jr., Family Court
  Judge
Unpublished Opinion No. 2009-UP-177
Submitted April 1, 2009  Filed April 28,
  2009&nbsp;&nbsp;&nbsp; 
AFFIRMED


	
		
			
				Jessica Salvini and Thomas Quinn, both of Greenville, for
  Appellant.
				Deborah Murdock, of Mauldin, for Respondent.
				Robert A. Clark, of Greenville, for Guardian Ad Litem.
			
		
	

PER
  CURIAM: Adrienne M. (Mother)
  appeals the family court's order (1) finding Mother's minor child (Child)
  suffered physical injuries; (2) granting the South Carolina Department of
  Social Services (DSS) temporary custody of Child; (3) relieving DSS of making
  reasonable efforts to reunite or preserve Child's family; and (4) approving the
  permanency plan recommended for Child by DSS.&nbsp; We affirm pursuant to Rule 220(b), SCACR, and the
  following authorities: South Carolina Code Ann. § 63-7-20(18) (Supp. 2008)
  (Physical injury means death or permanent or temporary disfigurement or
  impairment of any bodily organ or function."); § 63-7-1640(C) (Supp. 2008)
  (stating the family court may authorize DSS to forego reasonable efforts or
  reunify the family when the court determines the parent has subjected the child
  to severe or repeated abuse or neglect); § 63-7-1640(F) (Supp. 2008) ("In
  determining whether to authorize the department to terminate or forego
  reasonable efforts to preserve or reunify a family, the court must consider
  whether initiation or continuation of reasonable efforts to preserve or reunify
  the family is in the best interests of the child.").
AFFIRMED.[1]
HEARN, C.J., CURETON, A.J., and GOOLSBY, A.J., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

